 Fill in this information to identify your case:

 Debtor 1                  Keith Green
                           First Name                       Middle Name                  Last Name
 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ALABAMA

Case number               24-81143-11
(if known)                                                                                                                                 D Check if this is an
                                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

■@IM Give Details About Your Marital Status and Where You Lived Before
1.     What is your current marital status?

       181     Married
       D       Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

       181     No
       D       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1              Debtor 2 Prior Address:                               Oates Debtor 2
                                                                lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       181     No
       D       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


•@f◄ Explain the Sources of Your Income
4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses. including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       □ No
       181     Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income              Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                    exclusions}                                                   and exclusions}
 For the calendar year before that:                D Wages, commissions,                        $72,000.00         D Wages, commissions,
 (January 1 to December 31, 2022 )                 bonuses, tips                                                   bonuses.tips
                                                   181 Operating a business                                        D Operating a business




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